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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 COMMITTEE ON WAYS AND MEANS,
 UNITED STATES HOUSE OF
 REPRESENTATIVES,

                         Plaintiff,                          Case No. 1:19-cv-1974-TNM
         v.
 UNITED STATES DEPARTMENT OF THE
 TREASURY; INTERNAL REVENUE
 SERVICE; STEVEN T. MNUCHIN, in his
 official capacity as Secretary of the United States
 Department of the Treasury; and CHARLES L.
 RETTIG, in his official capacity as
 Commissioner of the Internal Revenue Service,
                         Defendants,
 DONALD J. TRUMP, THE DONALD J.
 TRUMP REVOCABLE TRUST, DJT
 HOLDINGS LLC, DJT HOLDINGS
 MANAGING MEMBER LLC, DTTM
 OPERATIONS LLC, DTTM OPERATIONS
 MANAGING MEMBER CORP., LFB
 ACQUISITION MEMBER CORP., LFB
 ACQUISITION LLC, and LAMINGTON
 FARM CLUB, LLC d/b/a Trump National Golf
 Club-Bedminster,
                         Intervenor-Defendants,


                            MOTION FOR STATUS CONFERENCE
       Intervenor-Defendants move this Court for a telephonic status conference at its earliest

convenience to discuss how the case shall proceed and to ensure that the status quo is maintained

following the adjournment of the 116th Congress on January 3, 2021 and the change in presidential

administration on January 20, 2021.

       As the Court is aware, this matter arises from a request made by a committee of the 116th

Congress for Intervenor-Defendants’ tax returns and return information. Defendants declined to turn

over the materials, and the Committee on Ways and Means brought suit to compel disclosure.

Intervenor-Defendants subsequently moved to intervene without objection, Doc. 12, and this Court


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granted that motion. Doc. 14. Intervenor-Defendants allege that the requests by Congress are illegal

and invalid. Doc 12 at 6; see also Trump v. Mazars, 140 S. Ct. 2019, 2036 (2020) (“Congressional

subpoenas for information from the President … implicate special concerns regarding the separation

of powers.”). The case is currently stayed pending further order of the Court. Doc. 91.

        A new administration will take office on January 20, 2021, raising the possibility that the

Department of Justice may reconsider its position with respect to any request from the Committee.

Meanwhile, the initial requests issued by the 116th Congress have expired, see Committee on Judiciary of

U.S. House of Representatives v. Miers, 542 F.3d 909, 911 (D.C. Cir. 2008), so any attempt to obtain

Intervenor-Defendants’ information would have to arise from a renewed request by the 117th

Congress. All of this raises the possibility that a renewed request from the Committee might be

satisfied without giving Intervenor-Defendants notice or an opportunity to be heard on their legal

objections.

        Counsel for Intervenor-Defendants contacted counsel for the Committee and Defendants in

an attempt to resolve this issue. Counsel for the Committee declined to disclose whether the

Committee intends to renew the request, noting only that the new House Rules allow the chair of a

committee to re-issue prior subpoenas. Counsel for the Defendants provided this statement of its

position.

        Counsel for the Government are not in a position at this time to speak for the
        incoming administration regarding release of President Trump’s tax-return
        information to the Committee. The Government objects, however, to any kind of
        temporary injunctive relief based on speculation about what the incoming
        administration may decide to do. The Government would not object, though, to a
        temporary order of up to 2 weeks’ duration requiring 72 hours’ notice to the
        President’s counsel before such a release is made. A temporary order of that kind
        would provide Government counsel opportunity to consult with the incoming
        administration regarding these issues, after which the Court could convene a further
        status conference to revisit them if needed.

        Intervenors have no desire to burden the Court or parties with unnecessary motion practice.

But given the pendency of this case, a status conference would shed light on whether and how this


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case should proceed. Interim relief to preserve the status quo under the All Writs Act is another

possibility, as Judge Nichols held in nearly identical circumstances. See, e.g., Trump v. Committee on Ways

and Means, 415 F. Supp. 3d 38, 50 (D.D.C. 2019) (granting “relief under the All Writs Act that will

prevent Mr. Trump’s claims from becoming ripe and then moot almost instantaneously without notice

to him or the Court”).

        Intervenors therefore respectfully request that:

        1) This Court schedule a telephonic status conference as soon as possible on January 20,

            2021; and

        2) This Court order the parties to be prepared to discuss:

                a. Whether the Committee plans to renew its request for Intervenor-Defendants’ tax

                    information;

                b. If the Committee plans to renew its request, whether the parties consent to

                    Intervenor-Defendants’ amending their answer to, among other things, assert

                    third-party claims against the Committee and/or Defendants;

                c. If the Committee plans to renew its request, whether the parties agree not to

                    disclose Intervenor-Defendants’ information until after this Court (and, if

                    necessary, the D.C. Circuit) reaches a decision on the merits of Intervenor-

                    Defendants’ claims; and

                d. Whether, in the interim, this Court should issue relief pursuant to its inherent

                    powers and the All Writs Act to preserve the status quo and prevent this case from

                    becoming moot before Intervenor-Defendants can obtain an adjudication of their

                    claims, by requiring at least 72 hours’ notice to the Intervenors’ counsel before

                    such a release is made.




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Dated: January 19, 2021                  Respectfully submitted,

                                          /s/ William S. Consovoy
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                                         DTTM Operations LLC, DTTM Operations
                                         Managing Member Corp, LFB Acquisition Member
                                         Corp., LFB Acquisition LLC, and Lamington Farm
                                         Club, LLC d/b/a Trump National Golf Club-
                                         Bedminster




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